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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          :
                                                  :
              v.                                  :      Case No. 23-CR-00222 (DLF)
                                                  :
SAI VARSHITH KANDULA,                             :
                                                  :
             Defendant.                           :


         JOINT STATUS REPORT AND MOTION FOR EXCLUSION OF TIME
                       UNDER THE SPEEDY TRIAL ACT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and counsel for the defendant, Scott Rosenblum Esq., hereby submit this joint status

report and, at the January 31, 2024 status conference, will request a continuance of the status

conference until March 31, 2024 and jointly move this Court to exclude from the calculation of

time before which this matter must be brought to trial under the Speedy Trial Act, pursuant to 18

U.S.C. §3161(h)(7). Counsel for Defendant is also asking the Court for leave to participate via

remote means on the January 31, 2024 status conference, to which Defendant Kandula consents.

                                       PROCEDURAL HISTORY

       The defendant was charged in a criminal complaint on May 23, 2023, having been arrested

on May 22, 2023 and initially charged in D.C. Superior Court for the conduct alleged in the present

case. On May 24, 2023, the defendant made his initial appearance in District Court. On June 9,

2023, a detention hearing was held, where the defendant was committed to the custody of the

Attorney General pending trial. At the conclusion of the detention hearing, a preliminary hearing

was set for July 13th, and the parties jointly agreed to the exclusion of time under the Speedy Trial

Act, 18 U.S.C. §3161(h)(7) from June 9th until July 13th.

       On July 11, 2023, the Defendant was indicted on one count of 18 U.S.C. § 1361,
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Depredation Against Property of the United States. ECF #17. Pursuant to a Joint Motion, the time

from July 13 to July 31, 2023, was excluded in computing the date for a speedy trial. ECF #20.

July 31st was originally set for an arraignment, but an arraignment was not held as the defendant

was unable to attend Court, and the arraignment was rescheduled, and time excluded until August

4th. On August 4th, the Defendant was arraigned, a status conference was set for September 19,

2023, and time under the Speedy Trial Act was excluded from August 4th to September 19th. On

August 21, 2023, counsel for the defendant, Scott Rosenblum, made an appearance in the case.

           On September 13, 2023, the Parties filed a Joint Motion to Continue Status Hearing, citing

the need for the parties to negotiate a plea agreement and for the defense to obtain a mental health

assessment of the defendant. ECF #29. On the same day, the Court issued an order granting the

motion and excluding time under the Speedy Trial Act from September 19, 2023 through

November 15, 2023. On November 15, 2023, the status conference was continued to November

21, 2023.

           At the status conference on November 21, 2023, counsel for Mr. Kandula, and Government

counsel, informed the Court that the case would likely resolve in a guilty plea, but prior to doing

so, Mr. Kandula would begin a regimen of treatment for a mental health condition. Another status

conference was set for January 31st at, and time under the Speedy Trial Act was excluded. On

January 4, 2023, a plea offer was extended.

           With respect to the treatment of Mr. Kandula’s medical condition, Dr. Avram Mack has

diagnosed Mr. Kandula with schizophrenia. 1 On Monday of this week, Dr. Mack recommended

risperidone to treat Mr. Kandula. 2 On Wednesday of this week, Defense counsel sent a Medic



1
    Dr. Mack’s diagnosis confirms a diagnosis made earlier this year by Elisa Agee, Ph.D.,
2
    Mr. Kandula is amenable to treatment and will take the medication as prescribed.

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Alert form to the jail for Mr. Kandula to sign. The Medical Alert form lists Mr. Kandula’s

diagnosis, his recommended medication, and the frequency and dosage of the medication. Counsel

for Mr. Kandula received the signed medical alert form today and will file it contemporaneously

with this joint status report. Once Mr. Kandula’s treatment begins, Dr. Mack will periodically meet

with Mr. Kandula to assess his response to the medication. Dr. Mack estimates a medication

response time of approximately two to three months.

                                         LAW AND ARGUMENT

        The Speedy Trial Act allows for the exclusion of time from within which to proceed to trial

based on a continuance granted by the Court on the Court’s own motion, at the request of the

defendant, or at the request of the government, where the Court issues findings that “the ends of

justice served by taking such action outweigh the best interest of the public and the defendant in a

speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

        The parties request the time from January 31, 2024 until March 31, 2024 is excluded from

the Speedy Trial Act. During this time, the parties will be able to complete the steps outlined above

and will be able to determine if a resolution of this case, short of a trial, can be obtained. Excluding

this time would allow the ends of justice to be served and outweigh the best interest of the public

and the defendant in a speedy trial.

                                           CONCLUSION

        WHEREFORE, for the foregoing reasons, the United States respectfully requests that this

Court set a status hearing in this case for March 31, 2024, 2024 and enter an Order excluding

from computation under the Speedy Trial Act the time from January 31, 2023. This Court is also

requested to allow Mr. Kandula’s counsel to appear by remote means, to which Mr. Kandula

consents.



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Respectfully submitted,

MATTHEW M. GRAVES
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